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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF ARIZONA


       United States of America              Case Number: 17-01439MJ-001-TUC-BPV
                   v.                        ORDER OF DETENTION PENDING TRIAL
          Paul Douglas Adams

In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held.
I conclude that the following facts require the detention of the defendant pending trial in this case.
                            Findings of Fact and Statement of Reasons
☐     (1)    The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has
             been convicted of a (federal offense)(state or local offense that would have been a federal
             offense if a circumstance giving rise to federal jurisdiction had existed) that is
      ☐      a crime of violence as defined in 18 U.S.C.§3156(a)(4).
      ☐      an offense for which the maximum sentence is life imprisonment or death.
      ☐      an offense for which a maximum term of imprisonment of ten years or more is prescribed
             in
      ☐      a felony that was committed after the defendant had been convicted of two or more prior
             federal offenses described in 18 U.S.C. §3142(f)(1)(A)-(C), or comparable state or local
             offenses.
☐     (2)    The offense described in finding (1) was committed while the defendant was on release
             pending trial for a federal, state or local offense.
☐     (3)    A period of not more than five years has elapsed since the (date of conviction)(release of
             the defendant from imprisonment) for the offense described in finding (1).
☐     (4)    Findings Nos. (1),(2) and (3) establish a rebuttable presumption that no condition or
             combination of conditions will reasonably assure the safety of (an)other person(s) and the
             community. I further find that the defendant has not rebutted this presumption.
☒     (5)    There is probable cause to believe that the defendant has committed an offense.
☐     (6)    There is probable cause to believe that the defendant has committed an offense
             ☐      for which a maximum term of imprisonment of ten years or more is prescribed in
                    The Controlled Substances Act, (21 U.S.C. §801, et seq.).
             ☐      under 18 U.S.C. §924(c).
☐     (7)    The defendant has not rebutted the presumption established by the finding that no
             condition or combination of conditions will reasonably assure the appearance of the
             defendant as required and the safety of the community.
☒     (8)    There is a serious risk that the defendant will not appear.
☐     (9)    There is a serious risk that the defendant will endanger the safety of another person or the
             community.
☐     (10)   Defendant is a citizen of another country, illegally in the United States of America.
☐     (11)   Defendant does not have sufficient ties to the community.
☐     (12)   The reports from Pretrial Services Agency are adopted as the further findings of this
             Magistrate Judge.
☒     (13)   The reports and recommendation from Pretrial Services Agency are adopted as the
             further findings of this Magistrate Judge.
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                       Further Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by (clear and
convincing evidence)(a preponderance of the evidence) that
                                   Directions Regarding Detention
The defendant is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility
shall deliver the defendant to the United States Marshal for the purpose of an appearance in connection
with a court proceeding.

      Dated this 14th day of February, 2017.




                                                                       Order of Detention Pending Trial (DAZ-TUC-2016)
